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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF FLORIDA
                      TALLAHASSEE DIVISION

DONNY PHILLIPS,                           Case No. 4:18-cv-139-AW-MJF
       Plaintiff,
v.
RICKY DIXON, et al.,
       Defendants.

      PLAINTIFF’S NOTICE OF OBJECTION BY DEFENDANT
     CRUTCHFIELD TO PETITION FOR HABEAS CORPUS AD
 TESTIFICANDUM FOR INMATES ANTHONY ANDREWS AND DEAN
         SCOTT DANIELS ON GROUNDS OF RELEVANCY

      NOTICE IS HEREBY GIVEN that Defendant SONYA CRUTCHFIELD has

raised an objection to Plaintiff’s Petition for Habeas Corpus ad Testificandum for

inmates (2) Anthony Andrews and (3) Dean Scott Daniels, on ground of

relevancy. Plaintiff contends that the inmates should not be called because:

      the only issue left for trial against Crutchfield is First Amendment
      retaliation and that the above inmates’ proposed testimony goes to Eighth
      Amendment violations which have been dismissed on qualified immunity
      grounds. See Doc 392, pages 17-19.

                    Respectfully Submitted, s/ James V. Cook_____________
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                                            FOR PLAINTIFF

I HEREBY CERTIFY that a copy of the foregoing has been furnished by CM/ECF
on 1/25/22 to all counsel of record.
                                     s/ James V. Cook________________
